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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
PARAGON OFFSHORE PLC, et al., : Case No.: 16-10386 (CSS)

Debtors.

 

PARAGON LITIGATION TRUST
Plaintiff,
Vv. : Adv. Proc. No.: 17-51882(CSS)

NOBLE CORPORATION PLC, NOBLE :
CORPORATION HOLDINGS LTD, :
NOBLE HOLDING INTERNATIONAL :
(LUXEMBOURG) S.A.R.I., NOBLE :
FDR HOLDINGS LIMITED, ASHLEY
ALMANZA, JULIE H. EDWARDS,
GORDON T. HALL, JON A. :
MARSHALL, JAMES A MACLENNAN,:
MARY P. RICCIARDELLO, JULIE J.
ROBERTSON, AND DAVID
WILLIAMS,
Adv. D.I. 23
Defendants.

 

ORDER

For the reasons set forth in the Court’s opinion dated August 6, 2018, it is hereby

ordered that the Defendants’ Motion to Dismiss in Favor of Arbitration and to Stay the

Proceedings (Adv. D.I. 23), filed on February 15, 2018, is GRANTED for Claim VIII, and

 
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DENIED for Claims VI-VII. Furthermore, the Court declines to stay either the litigation

or arbitration, allowing both to run concurrently.

Dated: August 6, 2018 5

Christopher S. Sontchi
Chief United States Bankruptcy Judge

 

 
